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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF GEORGIA

BRUNSWICK DIVISION
UNITED STATES OF AMERICA ;
V. ; Case No. CR218-50
MICHAEL ARTHUR NIXON

ORDER

 

The Motion to Continue (the second one filed thus far) is DENIED. The sole ground is that
a purportedly valid subpoena was served on a defense witness, but the witness and his or her
employer have not yet decided whether they will comply. Such is not their prerogative. The
hearing will go forward as noticed, planned and scheduled. The witness can attempt to obtain relief
from the Court by way of a Motion to Quash. Absent the granting of any such motion, the witness
will appear, if necessary by way of U.S. Marshal transport. Defense counsel is directed to
communicate to the Court all known home and work addresses of such witness in order to ensure

his or her timely transport by Marshal if necessary in order to avoid further delay.

This _(( day of _December , 2019.

 

 

HONGH ABLE LISA GODBEY WOOD, JUDGE
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA
